Case 1:12-cr-00132-JMB       ECF No. 1859, PageID.23052             Filed 01/03/19      Page 1 of 13




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,
                                                             File No. 1:12-cr-132
 v.
                                                             HON. JANET T. NEFF
 JULIO HERNANDEZ,

               Defendant.
                                     /

                                          OPINION

               Before the Court is a motion to vacate, set aside, or correct sentence under 28 U.S.C.

 § 2255, filed by Defendant Julio Hernandez (ECF No. 1752). The Government has filed a response

 to the motion (ECF No. 1762), and Defendant has filed a reply (ECF No. 1790) along with a

 supporting affidavit (ECF No. 1787). For the reasons herein, the motion will be denied.

                                         I. Background

               In July 2013, Defendant and other members of a group called the Holland Latin

 Kings were charged with conspiring to participate in a criminal enterprise. (Fourth Superseding

 Indictment, ECF No. 480.) In April 2014, the Government filed a superseding felony information

 charging Defendant with (1) participation in a racketeering conspiracy, 18 U.S.C. § 1962(d), and

 (2) conspiracy to possess 100 kilograms or more of marijuana with intent to distribute, 18 U.S.C.

 §§ 846, 841(a). (Superseding Felony Information, ECF No. 1072.)

               On April 18, 2014, Defendant signed a plea agreement acknowledging guilt for

 both counts. (Plea Agreement, ECF No. 1070.) Three days later, he entered his plea before the

 Court.
Case 1:12-cr-00132-JMB         ECF No. 1859, PageID.23053            Filed 01/03/19      Page 2 of 13




                At his plea hearing, Defendant acknowledged becoming a member of the Holland

 Latin Kings (HLK) and assisting that group. (Plea Hr’g Tr., ECF No. 1094.) He was aware that

 HLK was buying and selling marijuana, and he himself bought and sold marijuana from and to

 other members of the group. When asked whether he agreed that HLK “as a group sold at least a

 hundred kilos of marijuana” between 2006 and 2012, he responded, “I can’t before – say for

 certain, but I would imagine so.” (Id. at 22, 29.)

                He also acknowledged that part of the purpose of being a member of the

 organization was to protect other members. (Id. at 26.) On one occasion, in 2008, he got into a

 fight to protect his brother. (Id. at 27.) He was assisted by other members in the fight. (Id.)

                In the Final Presentence Investigation Report (PIR) (ECF No. 1304), the probation

 officer scored Defendant with a base offense level of 33 because one of his actions in relation to

 the conspiracy included an assault with intent to murder. (Id., PageID.18922.) The probation

 officer recommended an adjusted offense level of 32, after accounting for a reduction due to

 Defendant’s acceptance of responsibility (id., PageID.18924), but Defendant’s attorney objected

 to characterizing the conduct as assault with intent to murder, suggesting that it should be

 characterized as aggravated assault and scored with a base offense level of 14. (Sentencing Mem.,

 ECF No. 1318, PageID.19247.) Counsel also filed a motion asking for a downward variance to

 account for Defendant’s conduct and role in the conspiracy. (ECF No. 1319.)

                The Court sentenced Defendant on September 24, 2014. At the sentencing hearing,

 the Court denied Defendant’s objection regarding the base offense level, finding that there was

 sufficient evidence of intent to murder. However, the Court granted the request for a downward

 variance to account for Defendant’s role. (S. Hr’g Tr. 38, ECF No. 1355.) Using an adjusted

 offense level of 30 and a criminal history score of III, the Court determined that Defendant’s



                                                  2
Case 1:12-cr-00132-JMB        ECF No. 1859, PageID.23054            Filed 01/03/19       Page 3 of 13




 recommended range of sentence under the Guidelines was 121 to 151 months. (Id. at 40.) The

 Court sentenced Defendant below the Guidelines to 120 months (10 years) of imprisonment for

 each offense, to be served concurrently. (J., ECF No. 1330.)

                 Defendant appealed his sentence, arguing that it was invalid. Among other things,

 he contended that (1) the Court should not have assigned him a base offense level of 33 under the

 Sentencing Guidelines, and that (2) his sentence was unreasonable because of his minor role in the

 overall conspiracy. On May 12, 2016, the Court of Appeals rejected all arguments and affirmed

 the Court’s judgment. United States v. Penaloza, 648 F. App’x 508, 535-40 (6th Cir. 2016).

                 Defendant now raises the following issues in his motion under § 2255:

          I.      Ineffective Assistance of Counsel . . . [counsel] told me that I would
                  plead out to five years, and not to ten years.

          II.     Petitioner had a minor role in the Conspiracy for distribut[ing]
                  marijuana, he grew his own marijuana for personal use and [sale], when
                  he ran out he would buy for other member.

          III.    Amendment 782 . . . The United States Sentencing Commission voted
                  unanimously to reduce sentencing for most federal drug trafficking
                  offe[nd]ers in July 2014 to make this sentencing reduction retroactive
                  effective November 1, 2014[.] The effect of this amendment is to lower
                  the offense level based on drug[] quantities by two levels. Petitioner
                  based offense level for his trafficking conviction, which at the time of
                  sentencing was calculated as level 26, is not after the amendment a level
                  24.

 (2255 Mot., PageID.22256-22260.)

                 The Government argues that the motion should be denied because the grounds for

 relief are procedurally defaulted and/or meritless.

                                           II. Standards

        A. Merits

                 A prisoner who moves to vacate his sentence under § 2255 must show that the

 sentence was imposed in violation of the Constitution or laws of the United States, that the court
                                                  3
Case 1:12-cr-00132-JMB         ECF No. 1859, PageID.23055            Filed 01/03/19      Page 4 of 13




 was without jurisdiction to impose such a sentence, that the sentence was in excess of the

 maximum authorized by law, or that it is otherwise subject to collateral attack. 28 U.S.C. § 2255.

 To prevail on a § 2255 motion “a petitioner must demonstrate the existence of an error of

 constitutional magnitude which had a substantial and injurious effect or influence on the guilty

 plea or the jury’s verdict.” Humphress v. United States, 398 F.3d 855, 858 (6th Cir. 2005) (quoting

 Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003)). Non-constitutional errors are generally

 outside the scope of § 2255 relief. United States v. Cofield, 233 F.3d 405, 407 (6th Cir. 2000). A

 petitioner can prevail on a § 2255 motion alleging non-constitutional error only by establishing a

 “fundamental defect which inherently results in a complete miscarriage of justice, or, an error so

 egregious that it amounts to a violation of due process.” Watson v. United States, 165 F.3d 486,

 488 (6th Cir. 1999) (quoting United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (internal

 quotations omitted)).

        B. Procedural Default

                As a general rule, claims not raised on direct appeal are procedurally defaulted and

 may not be raised on collateral review unless the defendant shows either (1) “cause” and “actual

 prejudice” or (2) “actual innocence.” Massaro v. United States, 538 U.S. 500, 504 (2003); Bousley

 v. United States, 523 U.S. 614, 621-22 (1998); United States v. Frady, 456 U.S. 152, 167-68

 (1982). An ineffective assistance of counsel claim, however, is not subject to the procedural

 default rule. Massaro, 538 U.S. at 504. An ineffective assistance of counsel claim may be raised

 in a collateral proceeding under § 2255, whether or not the defendant could have raised the claim

 on direct appeal. Id.

        C. Hearing

                The court must hold an evidentiary hearing to determine the issues and make

 findings of fact and conclusions of law “[u]nless the motion and the files and records of the case

                                                  4
Case 1:12-cr-00132-JMB         ECF No. 1859, PageID.23056            Filed 01/03/19      Page 5 of 13




 conclusively show that the prisoner is entitled to no relief. . . .” 28 U.S.C. § 2255(b). No hearing

 is required if Defendant’s allegations “cannot be accepted as true because they are contradicted by

 the record, inherently incredible, or conclusions rather than statements of fact.” Arredondo v.

 United States, 178 F.3d 778, 782 (6th Cir. 1999) (quotation omitted).

                                            III. Analysis

 Ground One: Ineffective Assistance of Counsel

                Defendant asserts that he received ineffective assistance of counsel at trial because

 his attorney told him that he would “plead out” to five years, not ten. (2255 Mot., PageID.22256.)

 In an affidavit in support of his motion, Defendant avers that his attorney told Defendant (1) that

 “he would do 5 year sentence[;] do not worry about the sentence Guidelines,” (2) that “the Judge

 will not use the aggravated assault for the attempted murder,” and (3) that Defendant “will receive

 the Minor Role in the Conspiracy.” (Def.’s Aff., ECF No. 1787, PageID.22574.) In other words,

 Defendant claims that his attorney made promises or representations about his sentence that turned

 out to be incorrect.

                In Strickland v. Washington, 466 U.S. 668, 687-88 (1984), the Supreme Court

 established a two-prong test by which to evaluate claims of ineffective assistance of counsel. To

 establish a claim of ineffective assistance of counsel, the petitioner must prove: (1) that counsel’s

 performance fell below an objective standard of reasonableness; and (2) that counsel’s deficient

 performance prejudiced the defendant resulting in an unreliable or fundamentally unfair outcome.

 A court considering a claim of ineffective assistance must “indulge a strong presumption that

 counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

 The defendant bears the burden of overcoming the presumption that the challenged action might

 be considered sound trial strategy. Id. (citing Michel v. Louisiana, 350 U.S. 91, 101 (1955)); see

 also Nagi v. United States, 90 F.3d 130, 135 (6th Cir. 1996) (holding that counsel’s strategic
                                                  5
Case 1:12-cr-00132-JMB         ECF No. 1859, PageID.23057              Filed 01/03/19      Page 6 of 13




 decisions were hard to attack). The court must determine whether, in light of the circumstances as

 they existed at the time of counsel’s actions, “the identified acts or omissions were outside the

 wide range of professionally competent assistance.” Strickland, 466 U.S. at 690. Even if a court

 determines that counsel’s performance was outside that range, the defendant is not entitled to relief

 if counsel’s error had no effect on the judgment. Id. at 691.

                The two-part Strickland test applies to challenges to guilty pleas based on

 ineffective assistance of counsel. Hill v. Lockhart, 474 U.S. 52, 58 (1985). Regarding the first

 prong, the court applies the same standard articulated in Strickland for determining whether

 counsel’s performance fell below an objective standard of reasonableness. Id. In analyzing the

 prejudice prong, the focus is on whether counsel’s constitutionally deficient performance affected

 the outcome of the plea process. “[I]n order to satisfy the ‘prejudice’ requirement, the defendant

 must show that there is a reasonable probability that, but for counsel’s errors, he would not have

 pleaded guilty and would have insisted on going to trial.” Id. at 59.

                Defendant’s claim fails because his assertions about what he was told by his

 attorney are flatly contradicted by the signed plea agreement and by his sworn statements at his

 plea hearing. Under settled Sixth Circuit authority, a defendant is bound by his statements given

 under oath at the plea hearing. See Baker v. United States, 781 F.2d 85, 90 (6th Cir. 1986)

 (“[W]here the court has scrupulously followed the required procedure [under Rule 11 of the

 Federal Rules of Criminal Procedure], ‘the defendant is bound by his statements in response to

 that court’s inquiry.’”) (quoting Moore v. Estelle, 526 F.2d 690, 696-97 (5th Cir. 1976)).

 Furthermore, “even if counsel gives a defendant erroneous information, a defendant is not entitled

 to relief if the misinformation is ‘directly refuted on the record’ by the district judge during a plea




                                                   6
Case 1:12-cr-00132-JMB        ECF No. 1859, PageID.23058            Filed 01/03/19     Page 7 of 13




 colloquy.” Cadavid-Yepes v. United States, 635 F. App’x 291, 299 (6th Cir. 2016) (quoting United

 States v. Todaro, 982 F.2d 1025, 1029 (6th Cir. 1993)).

                Defendant contends that his attorney told him that he would receive a 5-year

 sentence; however, at his plea hearing, Defendant acknowledged that the charges against him

 carried a maximum penalty of 40 years in prison, and that, in addition to the minimum and

 maximum sentencing provisions, the Court was required to consider the sentencing guidelines.

 (Plea Hr’g Tr. 9-10.) The Court expressly asked Defendant if anyone “threatened you or coerced

 you or made any promise of leniency or any prediction to you as to exactly what the sentence is

 that the Court would be imposing in this matter?” and Defendant responded, “No.” (Id.)

                Similarly, the plea agreement informed Defendant that the racketeering conspiracy

 charge carried a maximum penalty of 20 years and the drug conspiracy charge carried a maximum

 penalty of 40 years. (Plea Agreement, PageID.11495.) It also informed him that the Court was

 required to consider the sentencing guidelines before imposing a sentence, and that “the Court

 shall make the final determination of the Guideline range that applies in this case, and may impose

 a sentence within, above, or below the Guideline range, subject to the statutory minimum and

 maximum penalties[.]” (Id., PageID.11497.) In other words, even if the Court decided certain

 factors in Defendant’s favor under the Guidelines, the Court was not required to sentence

 Defendant within the recommended Guideline range.

                The plea agreement also emphasized that “no one – not the prosecutor, the

 defendant’s attorney, nor the Court – can make a binding prediction or promise regarding the

 sentence the defendant will receive.” (Id., PageID.11498.) Immediately above Defendant’s

 signature in the plea agreement, the agreement contained the following affirmation:

          I have read this agreement and carefully discussed every part of it with my
          attorney. I understand the terms of this agreement, and I voluntarily agree to

                                                 7
Case 1:12-cr-00132-JMB        ECF No. 1859, PageID.23059            Filed 01/03/19     Page 8 of 13




          those terms. My attorney has advised me of my rights, of possible defenses, of
          the sentencing provisions, and of the consequences of entering into this
          agreement. No promises or inducements have been made to me other than those
          contained in this agreement. No one has threatened or forced me in any way to
          enter into this agreement. Finally, I am satisfied with the representation of my
          attorney in this matter.

 (Plea Agreement, PageID.11500 (emphasis added).)

                The Court cannot reconcile Defendant’s sworn statement that no one made any

 prediction to him about the sentence he would receive with his present assertion that his attorney

 told him he would receive a five-year sentence. Likewise, the Court cannot reconcile Defendant’s

 sworn statements with his present contention that his attorney promised him that the Court would

 not count the assault as an assault with intent to murder or would take into account Defendant’s

 minor role in the conspiracy. Both his testimony and the plea agreement make clear that he did

 not receive any such promises. In addition, the plea agreement expressly informed him that no

 one could make a binding prediction or promise about the sentence Defendant would receive, and

 that the Court would have to make a final determination.

                Defendant’s claim is similar to one raised by the defendant in Todaro, who

 attempted to attack his guilty plea by claiming that his attorney had promised him that he would

 be sentenced to probation if he pleaded guilty. The Court of Appeals for the Sixth Circuit rejected

 this claim because the defendant testified at the plea colloquy that no promises had been made to

 him other than those stated in the plea agreement. Todaro, 982 F.2d at 1026. “To allow collateral

 attacks on guilty pleas to be based upon such claims would make every plea subject to attack and

 render the oral responses given in court meaningless.” Warner v. United States, 975 F.2d 1207,

 1212 (6th Cir. 1992). Likewise, to allow Defendant to attack the assistance that he received by

 counsel on factual grounds that are inconsistent with his sworn statements to the Court would

 render his statements meaningless.

                                                 8
Case 1:12-cr-00132-JMB          ECF No. 1859, PageID.23060          Filed 01/03/19     Page 9 of 13




                Defendant’s claim is further undermined by statements he made at his sentencing

 hearing.   At that hearing, Defendant stated that he was dissatisfied with his counsel’s

 representation because counsel allegedly “convinced [Defendant] that he can . . . make [the Court]

 see that it wasn’t [assault with intent to murder], that he would be able to convince [the Court].”

 (S. Hr’g Tr. 26.) In other words, contrary to Defendant’s present assertion in his motion under

 § 2255, Defendant’s attorney did not make a specific promise about how the Court would construe

 the assault; instead, Defendant’s attorney allegedly overstated his ability to persuade the Court.

 Defendant’s inability to provide a consistent account of his attorney’s actions provides an

 additional reason to discount his self-serving statements in these proceedings.

                In short, Defendant’s claims about counsel’s conduct conflict with the clear

 representations he made when entering his plea, including his sworn statements to the Court. The

 Court will not lightly disregard those statements. Thus, Defendant cannot demonstrate the factual

 basis for his ineffective-assistance claim.

                Moreover, Defendant cannot demonstrate prejudice because the plea agreement

 made clear to him what his maximum sentence could be, and that no prediction could be made

 about his sentence. Consequently, Defendant was fully cognizant that he might receive a sentence

 as long as 10 years when he entered his plea. Thus, he cannot demonstrate that he would not have

 pleaded guilty if not for his attorney’s statements. Accordingly, Ground One is meritless.

 Ground Two: Minor Role in Marijuana Conspiracy

                Next, Defendant contends that he played a minor role in the conspiracy to distribute

 marijuana because he purchased or possessed marijuana for his own personal use. Defendant does

 not provide further explanation of his claim, but he apparently believes that he should have

 received a further reduction in his offense level under the sentencing guidelines because he played

 a minor role in the offense.
                                                 9
Case 1:12-cr-00132-JMB          ECF No. 1859, PageID.23061             Filed 01/03/19      Page 10 of
                                              13



                 Defendant does not state a viable claim, for several reasons. To the extent he asserts

 that his sentence is unreasonable, the Court of Appeals considered this issue and rejected it. See

 Penaloza, 648 F. App’x at 538 (“Given the district court’s finding that Hernandez committed an

 assault with the intent to murder in connection with the underlying conspiracy, we disagree with

 the contention that Hernandez’s role was so obviously minor that a more significant variance was

 required.”). “It is . . . well settled that a § 2255 motion may not be employed to relitigate an issue

 that was raised and considered on direct appeal absent highly exceptional circumstances, such as

 an intervening change in the law.” Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999);

 accord Foster v. Chatman, 136 S. Ct. 1737, 1758 (2016) (“[A]s a general rule, federal prisoners

 may not use a motion under 28 U.S.C. § 2255 to relitigate a claim that was previously rejected on

 appeal.”). Defendant does not identify any exceptional circumstances that would permit him to

 relitigate that claim here.

                 To the extent Defendant argues that the Court improperly applied the guidelines,

 this claim is procedurally defaulted because Defendant did not raise it on appeal. See Massaro,

 538 U.S. at 504. In addition, this argument is meritless because it is not cognizable in this action.

 Absent extraordinary circumstances, claims of non-constitutional error in sentencing may not be

 raised in a § 2255 proceeding. “Courts have generally declined to collaterally review sentences

 that fall within the statutory maximum.” United States v. Peterman, 249 F.3d 458, 462 (6th Cir.

 2001). A mistake in application of the advisory sentencing guidelines does not “affect the

 lawfulness of the [sentence] itself[.]” Snider v. United States, 908 F.3d 183, 191 (6th Cir. 2018)

 (quoting United States v. Addonizio, 442 U.S. 178, 187 (1979)); see Gibbs v. United States, 655

 F.3d 473, 479 (6th Cir. 2011) (“A challenge to the sentencing court’s guidelines calculation . . .




                                                  10
Case 1:12-cr-00132-JMB          ECF No. 1859, PageID.23062              Filed 01/03/19      Page 11 of
                                              13



 only challenges the legal process used to sentence a defendant and does not raise an argument that

 the defendant is ineligible for the sentence she received.”).

                “[N]onconstitutional errors, such as mistakes in the application of the sentencing

 guidelines, will rarely, if ever, warrant relief [under § 2255]. . . . [O]nly the most serious defects

 in the trial process will merit relief outside of the normal appellate system.” Grant v. United States,

 72 F.3d 503, 506 (6th Cir. 1996). This standard is met only by “exceptional circumstances where

 the need for the remedy afforded by the writ of habeas corpus is apparent,” such as when there was

 “a fundamental defect which inherently results in a complete miscarriage of justice[.]” Hill v.

 United States, 368 U.S. 424, 428 (1962) (internal quotation marks and citation omitted). Not

 “every asserted error of law can be raised on a § 2255 motion.” Davis v. United States, 417 U.S.

 333, 346 (1974).

                There are no exceptional circumstances that would justify granting relief in this

 case. Defendant’s sentence falls within the statutory maximum. He does not claim that he is

 actually innocent or that the Court violated his rights under the Constitution. He simply disagrees

 with the Court’s application of the advisory guidelines. That claim is not cognizable in this action.

 See Snider, 908 F.3d at 191 (“[E]very other court of appeals to have looked at the issue has agreed

 that a defendant cannot use a § 2255 motion to vindicate non-constitutional challenges to advisory

 guideline calculations.”). Moreover, the Court did take into account Defendant’s relatively minor

 role in the conspiracy compared to his co-defendants, reducing his offense level by two points. (S.

 Tr. 38, ECF No. 1355.) Thus, Ground Two is both meritless and procedurally defaulted.

 Ground Three: Amendment 782

                Next, Defendant claims that he is entitled to a reduction in his sentence under

 Amendment 782 of the Guidelines, which took effect on November 1, 2014. Amendment 782



                                                   11
Case 1:12-cr-00132-JMB          ECF No. 1859, PageID.23063             Filed 01/03/19      Page 12 of
                                              13



 retroactively reduced the applicable guidelines range for certain drug offenses by changing the

 drug quantity table in the Guidelines.

                Defendant’s request for a sentence reduction pursuant to a retroactive change in the

 Guidelines is not properly raised in this action. That sort of request should be brought as a separate

 motion under 18 U.S.C. § 3582(c)(2), which allows a defendant to file a motion to reduce the term

 of imprisonment, where the defendant “has been sentenced to a term of imprisonment based on a

 sentencing range that has subsequently been lowered by the Sentencing Commission” through a

 retroactive amendment to the sentencing guidelines.            18 U.S.C. § 3582(c)(2); U.S.S.G.

 § 1B1.10(a)(1).

                Even under § 3582, Defendant’s request is meritless. Amendment 782 would not

 affect the calculation of Defendant’s sentence. His offense level was driven by his conviction for

 participating in a racketeering conspiracy, not by his conviction for the drug conspiracy. The

 racketeering conviction resulted in a higher offense level than the drug-related conviction. (See

 PIR, ECF No. 1304, PageID.18923.) Under the rules for determining an offense level when there

 are multiple counts of conviction, the highest offense level controls. See U.S.S.G. § 3D1.4. In

 other words, the drug quantity table did not factor into Defendant’s range of sentence.

 Consequently, his term of imprisonment is not based on a range of sentence that was lowered by

 Amendment 782. In short, there is no basis upon which the Court could reduce Defendant’s

 sentence under § 3582(c)(2). Accordingly, Ground Three is also meritless.

                                           IV. Conclusion

                For the reasons stated, Defendant’s claims are meritless and/or procedurally

 defaulted. An evidentiary hearing is not required because the record of the case conclusively

 shows that Defendant is not entitled to relief. Accordingly, his motion under § 2255 will be denied.



                                                  12
Case 1:12-cr-00132-JMB          ECF No. 1859, PageID.23064           Filed 01/03/19      Page 13 of
                                              13



                 Under 28 U.S.C. § 2253(c), the Court must determine whether to issue a certificate

 of appealability. A certificate should issue if the movant has demonstrated “a substantial showing

 of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth Circuit has disapproved

 of issuance of blanket denials of a certificate of appealability. Murphy v. Ohio, 263 F.3d 466, 467

 (6th Cir. 2001). The district court must “engage in a reasoned assessment of each claim” to

 determine whether a certificate is warranted. Id. Each issue must be considered under the

 standards set forth by the Supreme Court in Slack v. McDaniel, 529 U.S. 473 (2000). Murphy,

 263 F.3d at 467. Under Slack, to warrant a grant of the certificate, Defendant “must demonstrate

 that reasonable jurists would find the district court’s assessment of the constitutional claims

 debatable or wrong.” 529 U.S. at 484.

                 The Court has carefully considered the issues in this matter and finds that

 reasonable jurists could not find that this Court’s dismissal of Defendant’s claims was debatable

 or wrong.

                 An order will enter consistent with this Opinion.



 Dated:      January 3, 2019                          /s/ Janet T. Neff
                                                      Janet T. Neff
                                                      United States District Judge




                                                 13
